         Case
          Case2:17-cr-00124-JAD-EJY
               2:17-cr-00124-JAD-GWF Document
                                      Document34  Filed 05/08/17
                                               33 Filed 05/09/17 Page
                                                                  Page41ofof51




 1
                                UNITED STATES DISTRICT COURT
 2
 3                                  DISTRICT OF NEVADA

 4                                             )
                                               )
 5   UNITED STATES OF AMERICA,                 )
                                               ) CASE NO: 2:17-CR-0124-JAD-GWF
 6                 Plaintiff,                  )
                                               ) ORDER
 7                 vs.                         )
                                               )
 8   KARY WATSON,                              )
                                               )
 9                 Defendant.                  )
                                               )
10                                             )
                                               )
11
12         IT IS HEREBY ORDERED that that the United States Department of Parole and
13
     Probation will prepare a Pre-Plea Presentence Report on Defendant KARY WATSON.
14
                                       May 2017.
                       9th day of ___________,
           DATED this _____
15
16
                                                       ________________________________
17                                                     UNITED
                                                       U.S.    STATES DISTRICT
                                                            MAGISTRATE   JUDGE JUDGE
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